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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION


                                   )
WSOU INVESTMENTS, LLC d/b/a BRAZOS )       Case No. 6:20-cv-00572-ADA
LICENSING & DEVELOPMENT,           )
                                   )       JURY TRIAL DEMANDED
           Plaintiff,              )
                                   )
     v.                            )
                                   )
GOOGLE, LLC,                       )
                                   )
           Defendant               )
                                   )




DECLARATION OF MOSES XIE ON BEHALF OF PLAINTIFF BRAZOS LICENSING
            & DEVELOPMENT IN SUPPORT OF PLAINTIFF’S
   DAUBERT MOTION TO EXCLUDE THE OPINIONS OF DR. HENRY HOUH
         Case 6:20-cv-00572-ADA Document 157 Filed 06/28/23 Page 2 of 2




I, Moses Xie, declare as follows:

       1.      I am an attorney duly admitted to practice before this Court.

       2.      I am a principal of Folio Law Group PLLC, counsel of record for Plaintiff WSOU

Investments, LLC d/b/a Brazos Licensing & Development (“Brazos”).

       3.      I have personal knowledge of the facts set forth herein, and if called as a witness, I

could and would competently testify thereto.

       4.      I make this declaration in support of Plaintiff Brazos Licensing & Development’s

Daubert Motion to Exclude Opinions of Dr. Henry Houh.

       5.      Attached, as Exhibit A, is a true and correct copy of excerpts of the April 28, 2023

Rebuttal Expert Report of Dr. Henry H. Houh Regarding Non-Infringement of U.S. Patent No.

8,041,806.

       6.      Attached, as Exhibit B, is a true and correct copy of excerpts of the

February 16, 2023 Markman hearing transcript in this matter.

       7.      Attached, as Exhibit C, is a true and correct copy of excerpts of the

May 25, 2023 Deposition Transcript of Dr. Henry Houh.

       8.      Attached, as Exhibit D, is a true and correct copy of excerpts of the March 30, 2023

Opening Expert Report of Dr. Henry H. Houh Regarding U.S. Patent No. 8,041,806.

       9.      Attached, as Exhibit E, is a true and correct copy of excerpts of excerpts of the

May 10, 2023 Deposition Transcript of Dr. Henry Houh.



       I declare under penalty of perjury that the foregoing is true and correct.

       Executed in Seattle, WA, on June 28, 2023.

                                                             By:     /s/ Moses Xie
                                                                        Moses Xie
